                                          Case 4:21-cv-02409-PJH Document 53 Filed 12/07/21 Page 1 of 2




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                                  4                                   UNITED STATES DISTRICT COURT

                                  5                               NORTHERN DISTRICT OF CALIFORNIA

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                                  7      ESTATE OF RAFAEL RAMIREZ LARA,
                                         et al.,                                        Case No. 21-cv-02409-PJH
                                  8
                                                        Plaintiffs,
                                  9                                                     ORDER GRANTING JOINT
                                                v.                                      ADMINISTRATIVE MOTION
                                  10
                                         COUNTY OF MONTEREY, et al.,                    Re: Dkt. No. 51
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14         Pursuant to Civil Local Rule 7-11, the parties hereby move to modify the current

                                  15   case management and pretrial order to extend the discovery cut-off and subsequent

                                  16   deadlines by two (2) months. To accommodate the parties’ good faith efforts to complete

                                  17   discovery, and good cause appearing, the parties’ joint motion is GRANTED, as modified

                                  18   in bold below.

                                  19

                                  20                                        Current Deadline (Dkt. 35)    New Deadline
                                  21    Non-Expert Discovery Cutoff         1/31/22                       3/31/22
                                  22    Disclosure of Experts               2/28/22                       4/29/22
                                  23    Disclosure of Rebuttal Experts      3/28/22                       5/27/22
                                  24    Expert Discovery Cutoff             5/12/22                       7/15/22
                                  25    Dispositive Motion Hearing          7/28/22                       9/29/22
                                  26    Pretrial Conference Date            11/10/22                      1/26/23
                                  27    Trial Date                          12/5/22                       2/27/23
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                                          Case 4:21-cv-02409-PJH Document 53 Filed 12/07/21 Page 2 of 2




                                  1          IT IS SO ORDERED.

                                  2    Dated: December 7, 2021

                                  3                                         /s/ Phyllis J. Hamilton
                                                                            PHYLLIS J. HAMILTON
                                  4                                         United States District Judge
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                                  12
Northern District of California
 United States District Court




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